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              EXHIBIT 2
Case 1:23-cv-00108-LMB-JFA Document 630-4 Filed 05/16/24 Page 2 of 7 PageID# 12101



                                                                    Page 1

   1                            UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
   2                                 ALEXANDRIA DIVISION
   3
                      __________________________
   4                                            :
                      UNITED STATES OF AMERICA, :
   5                  et al.,                   :
                                                :
   6                         Plaintiffs         :
                                                :
   7                      v.                    : No.         1:23-cv-00108
                                                :
   8                  GOOGLE, LLC,              :
                                                :
   9                         Defendants.        :
                      __________________________:
 10
 11                                 Friday, August 18, 2023
 12
                              Video Deposition of COL. JOHN HORNING,
 13
                      taken at the Law Offices of Paul, Weiss,
 14
                      Rifkind, Wharton & Garrison LLP, 2001 K St NW,
 15
                      Washington, DC, beginning at 9:34 a.m. Eastern
 16
                      Standard Time, before Ryan K. Black, Registered
 17
                      Professional Reporter, Certified Livenote
 18
                      Reporter and Notary Public in and for the
 19
                      District of Columbia
 20
 21
 22
 23
 24
 25        Job No. CS6060378

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                                                                   Page 2                                                            Page 4
       1   A P P E A R A N C E S:
                                                                              1          THE VIDEOGRAPHER: Good morning.
       2
       3   UNITED STATES DEPARTMENT OF JUSTICE                                2   We're going on the record at 9:34 on August 18th,
           ANTITRUST DIVISION
       4   BY: JIMMY MCBIRNEY, ESQ.
                                                                              3   2023. Please note that the microphones are
              CHASE PRITCHETT, ESQ.                                           4   sensitive and may pick up whispering and private
       5      ALVIN CHU, ESQ.
              MARK SOSNOWSKY, ESQ. - Via Zoom
                                                                              5   conversations. Please mute your phones at this
       6      KATHERINE CLEMONS, ESQ - Via Zoom                               6   time. Audio and video recording will continue to
           450 5th Street, N.W
       7   Washington, DC 20530
                                                                              7   take place unless all parties agree to go
           202.514.2414                                                       8   off the record.
       8   jimmy.mcbirney@usdoj.gov
           chase.pritchett@usdoj.gov                                          9          This is Media Unit 1 of the
       9   alvin.chu@usdoj.gov                                               10   video-recorded deposition of Colonel John Horning
           mark.sosnowsky@usdoj.gov
      10   katherine.clemons@usdoj.gov                                       11   in the matter of United States, et al., v. Google
      11   Representing - The United States of America                       12   LLC. The location of the deposition is Paul
      12
      13   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,                     13   Weiss.
           BY: MARTHA L. GOODMAN, ESQ.                                       14          My name is Glenn Fortner, representing
      14      LEAH HIBBLER, ESQ.
           2001 K St NW,                                                     15   Veritext, and I'm the videographer. The court
      15   Washington, DC                                                    16   reporter is Ryan Black from the firm Veritext.
           202.223.7341
      16   mgoodman@paulweiss.com                                            17   I'm not related to any party in this action, nor
           lhibbler@paulweiss.com                                            18   am I financially interested in the outcome.
      17
           Representing - Google LLC                                         19          If there are any objections to
      18                                                                     20   proceeding, please state them at the time of your
      19
      20                                                                     21   appearance. Counsel and all present, including
      21                                                                     22   remotely, will now state their appearances and
      22
      23   ALSO PRESENT:                                                     23   affiliations for the record beginning with the
      24   Glenn Fortner - Legal Videographer
                                                                             24   noticing attorney.
           Major Mohamed Al-Darsani - United States Army
      25   Edwin Farley - USDOJ Intern                                       25          MS. GOODMAN: Martha Goodman, from the
                                                                    Page 3                                                           Page 5
       1                 INDEX                                                1   law firm Paul Weiss, on behalf of Google LLC.
       2    TESTIMONY OF: COL. JOHN HORNING                        PAGE       2   I'm joined by my colleague Leah Hibbler.
       3    By Ms. Goodman.............................6, 244
                                                                              3        MR. MCBIRNEY: Jimmy McBirney, with the
       4    By Mr. McBirney...............................245
                                                                              4   Unites Staes Department of Justice, on behalf of
       5               EXHIBITS
       6    EXHIBIT          DESCRIPTION                      PAGE            5   the United States and the witness.
       7    Exhibit 61 a privilege log dated June 26th,                       6        MR. PRITCHETT: Chase Pritchett, on
                     2023, provided by the United                             7   behalf of the United States.
       8             States DOJ.......................11                      8        MR. CHU: Alvin Chu on behalf of the
       9    Exhibit 62 a document Bates Numbered
                                                                              9   United States.
                     ARMY-ADS336340 through 336638...154
                                                                             10        MR. SOSNOWSKY: Mark Sosnowsky on behalf
      10
            Exhibit 63 a document Bates Numbered                             11   of the United States.
      11             ARMY-ADS329948 through 329970...165                     12        MAJOR AL-DARSANI: Moe Al-Darsani,
      12    Exhibit 64 a document Bates Numbered                             13   United States Army.
                     ARMY-ADS187047 through 187077...211                     14        MR. FARLEY: Edwin Farley, United
      13
                                                                             15   States.
      14
                                                                             16        THE VIDEOGRAPHER: Okay. Will the court
      15
      16                                                                     17   reporter please swear in the witness and then
      17                                                                     18   counsel may proceed.
      18                                                                     19        MR. CHU: Oh, also, just to let you
      19                                                                     20   know, I have Katherine Clemons -- she'll be --
      20                                                                     21   from the DOJ that will also joining in and out.
      21
                                                                             22              *     *   *
      22
      23                                                                     23   Whereupon --
      24                                                                     24             COL. JOHN HORNING,
      25                                                                     25   called to testify, having been first duly sworn

                                                                                                                            2 (Pages 2 - 5)
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                                                         Page 6                                                      Page 8
       1    or affirmed, was examined and testified as             1   that.
       2    follows:                                               2      Q. Have you ever requested legal advice
       3                 * * *                                     3   from the Department of Justice Antitrust
       4                  EXAMINATION                              4   Division?
       5    BY MS. GOODMAN:                                        5         MR. MCBIRNEY: Objection. Calls for
       6       Q. Good morning, Colonel Horning.                   6   privileged information. Instruct the witness not
       7       A. Good morning.                                    7   to answer.
       8       Q. Have you been deposed before?                    8         MS. GOODMAN: You're asking him -- the
       9       A. I have not.                                      9   information that would appear on a privilege log
      10       Q. Do you understand your purpose here             10   with a request for legal advice that's required
      11    today is to provide truthful and accurate             11   for you as the privilege -- the party asserting a
      12    testimony to the best of your testimony and           12   privilege to establish the proprietary of the
      13    knowledge?                                            13   privilege and meet your burden of proof and
      14       A. I do.                                           14   persuasion that the privilege applies, you're
      15       Q. Is there any reason you cannot do that          15   instructing him not to answer that question?
      16    today?                                                16         MR. MCBIRNEY: You are asking the
      17       A. No.                                             17   witness whether he has requested legal advice
      18       Q. Okay. Because the court reporter is             18   from the Department of Justice Antitrust
      19    writing everything down, it's important that we       19   Division?
      20    not talk over one another, so please let me           20         MS. GOODMAN: Yeah.
      21    finish my question before you begin your answer.      21         MR. MCBIRNEY: You can answer that yes
      22    Okay?                                                 22   or no.
      23       A. Okay.                                           23         THE WITNESS: No.
      24       Q. And because he's again taking a written         24   BY MS. GOODMAN:
      25    transcript, the -- you have to speak verbally as      25      Q. To what extent has anybody at the
                                                         Page 7                                                      Page 9
       1    opposed to with sounds like uh-huh or huh-uh      1        Department of Justice ever asked you to provide
       2    so that it can be accurately reflected in the     2        information about the Army's advertising
       3    transcript. Okay?                                 3        business?
       4       A. I understand.                               4              MR. MCBIRNEY: Objection. Privileged.
       5       Q. If you don't understand my question,        5        Instruct the witness not to answer.
       6    please let me know. Okay?                         6        BY MS. GOODMAN:
       7       A. Yes.                                        7           Q. Are you going to follow that
       8       Q. Otherwise I assume you'll understand.       8        instruction, sir?
       9    Okay?                                             9           A. Yes.
      10       A. Yes.                                       10           Q. Okay. When did you first have any
      11       Q. In the normal course of your work, do      11        conversations with anybody at the Department of
      12    you consider the Department of Justice Antitrust 12        Justice Antitrust Division?
      13    Division to be your counsel?                     13           A. As best that I can recall, our first
      14       A. I'm not sure that I'm qualified to         14        interaction would have been in early spring of
      15    answer, within the legal constructs of the U.S. 15         2023 or late winter. I -- I can't recall the
      16    government, who our actual counsel is or is not. 16        specific date.
      17       Q. I'm not asking for you to provide a        17           Q. So sometime between late winter of what
      18    legal opinion. I'm asking for your personal      18        year?
      19    understanding and your considerations, your      19           A. 2023.
      20    personal opinions. So do you consider the        20           Q. Okay. And early spring of 2023?
      21    Department of Justice Antitrust Division to be 21             A. Correct.
      22    your counsel in the normal course of your work? 22            Q. Okay. What was your understanding
      23       A. I don't believe that I have a personal     23        of the reason for your conversations with the
      24    opinion on who our counsel is. I only know       24        Department of Justice Antitrust Division?
      25    what's -- yeah. I -- I don't have an opinion on 25               MR. MCBIRNEY: Objection. Calls for

                                                                                                         3 (Pages 6 - 9)
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                                                       Page 10                                                     Page 12
       1    privileged information. Instruct the witness not      1      Q. I'm sorry. I meant Page 11.
       2    to answer.                                            2      A. Okay.
       3    BY MS. GOODMAN:                                       3      Q. It's line entry 23 on Page 11.
       4       Q. Are you following that instruction?             4      A. Okay.
       5       A. Yes.                                            5      Q. So one, two, three, four, five columns
       6       Q. Has the Department of Justice ever              6   over, you're listed in the To column. Do you see
       7    requested information about digital advertising       7   that?
       8    purchases by the United States Army?                  8      A. I do.
       9          MR. MCBIRNEY: Objection. Calls for              9      Q. And do you see the date in the few-more
      10    privileged information. Instruct the witness not     10   columns over of January 5th, 2023?
      11    to answer.                                           11      A. Okay.
      12    BY MS. GOODMAN:                                      12      Q. Does that refresh your recollection of
      13       Q. Are you following that instruction?            13   the time period where you first had conversations
      14       A. Yes.                                           14   with the Department of Justice Antitrust
      15       Q. Do you -- in the course of your work,          15   Division?
      16    do you routine -- do you field requests for          16      A. Can you help me understand what it is
      17    information from the Department of Justice on        17   I'm actually looking at here?
      18    an ordinary basis?                                   18      Q. Yeah. So this is what's called a
      19       A. I do not.                                      19   privilege log.
      20       Q. Are you aware of anybody else within           20      A. I'm not familiar with what one of those
      21    the AEMO who re -- regularly fields requests for     21   are.
      22    information from the Department of Justice?          22      Q. Okay. A privilege log is a
      23       A. I'm not personally aware of anything           23   document that parties are required to provide
      24    like that.                                           24   to the opposing side when they're asserting
      25          MS. GOODMAN: I'm marking Exhibit 61, a         25   attorney-client or attorney work product or other
                                                       Page 11                                                     Page 13
       1    privilege log dated June 26th, 2023, provided by 1        privilege over communications --
       2    the United States in this litigation. I'm        2           A. Okay.
       3    handing it to the witness.                       3           Q. -- that they are not providing to
       4          (Exhibit No. 61, a privilege log dated     4        the other side in litigation. So that's what a
       5    June 26th, 2023, provided by the United States 5          privilege log is. And so by virtue of this
       6    DOJ, was introduced.)                            6        entry, on Line 23 the United States is asserting
       7    BY MS. GOODMAN:                                  7        a privilege, as described in the last column, --
       8       Q. Now, Colonel Horning, this is not a        8           A. Okay.
       9    document I would normally show a percipient      9           Q. -- over your communication with
      10    witness, but I'm essentially hamstrung and must 10        Mr. Wessels and others --
      11    do so here today for reasons that don't pertain 11           A. Okay.
      12    to you, per se. But I would like you to turn to 12           Q. -- listed on this page.
      13    Page 11 of this document.                       13           A. Okay.
      14          Let me know when you're there.            14           Q. Do you understand now?
      15       A. Okay. I am on Page 11.                    15              MR. MCBIRNEY: Objection. Assumes facts
      16       Q. Okay. And if you look back at Page 1, 16            not in evidence. Form of the question.
      17    actually, you see there is a heading at the top 17        BY MS. GOODMAN:
      18    that indicate what each of the columns are.     18           Q. Do you understand -- do you have an
      19       A. Okay.                                     19        appropriate understanding now of what a privilege
      20       Q. Okay. So you see that in the, one, two, 20          log is?
      21    three, four, five -- fifth column over on Page  21           A. I do understand what this document is
      22    23, which is the To column, your name is        22        now.
      23    listed --                                       23           Q. Okay. So having now looked at this
      24       A. On? I'm sorry. Could you say what page 24           document and understanding what it is, does it
      25    again? I thought you said Page 23.              25        refresh your memory at all that -- as to the

                                                                                                     4 (Pages 10 - 13)
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                                                     Page 14                                                     Page 16
       1   timing of your conversations with the Antitrust      1      Q. What was your understanding of the
       2   Division?                                            2   purpose of the interview?
       3          MR. MCBIRNEY: Objection; foundation,          3         MR. MCBIRNEY: Objection. Calls for
       4   and to form.                                         4   privileged information. Instruct the witness not
       5          THE WITNESS: It does not refresh my           5   to answer.
       6   recollection, but I have no reason to believe        6   BY MS. GOODMAN:
       7   this is not true.                                    7      Q. Are you following that instruction?
       8   BY MS. GOODMAN:                                      8      A. Yes.
       9      Q. Okay. And you see in the column next to        9      Q. What facts -- strike that.
      10   the date, which is the subject -- if you look       10         At the time reflected here on this
      11   back at Page 1, you can see that that is the        11   log, --
      12   subject column.                                     12      A. Mm-hmm.
      13      A. Yes.                                          13      Q. -- January 5th, 2023, were you aware of
      14      Q. Okay. Can you read the subject to me          14   any anticompetitive conduct on the part of Google
      15   here?                                               15   affecting the Army's advertising --
      16      A. The subject on Item 23 of the privilege       16         MR. MCBIRNEY: Objection.
      17   log says, brackets, "external DOJ-Army interview    17   BY MS. GOODMAN:
      18   on Google-Meta advertising products used by DOD."   18      Q. -- practices?
      19      Q. Okay. Do you recall who was interviewed       19         MR. MCBIRNEY: Objection. Calls for a
      20   -- who at the Army was interviewed on Google-Meta   20   legal conclusion.
      21   advertising products used by DOD on or around       21   BY MS. GOODMAN:
      22   this date of January 5th, 2023?                     22      Q. You may answer.
      23          MR. MCBIRNEY: You can answer that yes        23      A. I'm not sure that I have -- am
      24   or no.                                              24   qualified to know or would have been made
      25          THE WITNESS: I do not recall.                25   available any infor -- or would have had any
                                                     Page 15                                                     Page 17
       1    BY MS. GOODMAN:                                 1       information available to me on that topic.
       2       Q. Okay. Do you recall yourself being        2          Q. Around this time of January 5th, 2023,
       3    interviewed on this topic?                      3       were you aware of any conduct on the part of
       4       A. I recall being interviewed, but I do not  4       Google that was causing the Army to pay prices
       5    recall that this was the date for it.           5       for advertising that were too high?
       6       Q. Okay. Do you recall who interviewed       6          A. I had not been made aware of anything
       7    you?                                            7       like that at the time frame that you're asking.
       8       A. I only recall -- I didn't -- there was    8          Q. Okay. How about prior to the time frame
       9    likely more than one person. I only recall one  9       that I'm asking?
      10    by name.                                       10          A. Not that I can recall, no.
      11       Q. Who do you recall by name?               11          Q. Okay. What's your understanding of the
      12       A. Mr. Chase Pritchett.                     12       word anticompetitive?
      13       Q. Okay. How long did the interview last? 13                MR. MCBIRNEY: Objection. Calls for
      14       A. I can't be certain. I think it was,      14       legal conclusion, and foundation.
      15    likely, 60 to 90 minutes, perhaps.             15              THE WITNESS: I only know the common
      16       Q. And this is a yes or no question: Did    16       language terminology. I don't understand the
      17    the United States Antitrust Division lawyers   17       actual legal definitions or implications.
      18    present explain to you the purpose of the      18       Anticompetitive: Not competitive.
      19    interview?                                     19       BY MS. GOODMAN:
      20          MR. MCBIRNEY: Objection. Calls for 20                Q. So what is your common language
      21    privileged communication. Instruct the witness 21       understanding of the word anticompetitive?
      22    not to answer.                                 22          A. I understand it in the context of
      23    BY MS. GOODMAN:                                23       business practices meaning not adhering to a
      24       Q. Are you following that instruction?      24       competitive, fair practice.
      25       A. Yes.                                     25          Q. Okay. So using your definition of

                                                                                                  5 (Pages 14 - 17)
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                                                        Page 246                                                     Page 248
       1   for information relevant to this lawsuit?          1 Jimmy McBirney, Esq.
       2      A. I did not.                                   2 jimmy.mcbirney@usdoj.gov
       3         MS. GOODMAN: I reserve the remainder of      3                  August 21, 2023
       4   my time for this deposition based on the improper  4 RE: United States, Et Al v. Google, LLC
       5   privilege assertions made at the outset of the     5     8/18/2023, John Horning (#6060378)
       6   deposition. So I close the dep -- I'm holding      6     The above-referenced transcript is available for
       7   the deposition open.                               7 review.
       8         MR. MCBIRNEY: Can I get a time check?        8     Within the applicable timeframe, the witness should
       9         THE VIDEOGRAPHER: We are at 5:55             9 read the testimony to verify its accuracy. If there are
      10   minutes.                                          10 any changes, the witness should note those with the
      11         MR. MCBIRNEY: Okay. The government          11 reason, on the attached Errata Sheet.
      12   does not agree with your position that the        12     The witness should sign the Acknowledgment of
      13   deposition should remain open, but we understand  13 Deponent and Errata and return to the deposing attorney.
      14   your position.                                    14 Copies should be sent to all counsel, and to Veritext at
      15         MS. GOODMAN: Okay.                          15 erratas-cs@veritext.com
      16         MR. MCBIRNEY: Off the record.               16
      17         THE VIDEOGRAPHER: Anything else for the 17 Return completed errata within 30 days from
      18   record?                                           18 receipt of testimony.
      19         MS. GOODMAN: Thank you, Colonel.            19 If the witness fails to do so within the time
      20         THE WITNESS: Thank you very much.           20 allotted, the transcript may be used as if signed.
      21         THE VIDEOGRAPHER: This marks the end of 21
      22   the deposition of Colonel John Horning. We're     22            Yours,
      23   going off the record at 1753.                     23            Veritext Legal Solutions
      24         (Deposition concluded -- 5:53 p.m.)         24
      25                                                     25
                                                        Page 247                                                     Page 249
       1            CERTIFICATE                                     1 United States, Et Al v. Google, LLC
       2                                                            2 John Horning (#6060378)
       3         I do hereby certify that I am a Notary             3           ERRATA SHEET
       4   Public in good standing, that the aforesaid              4 PAGE_____ LINE_____ CHANGE________________________
       5   testimony was taken before me, pursuant to               5 __________________________________________________
       6   notice, at the time and place indicated; that            6 REASON____________________________________________
       7   said deponent was by me duly sworn to tell the           7 PAGE_____ LINE_____ CHANGE________________________
       8   truth, the whole truth, and nothing but the              8 __________________________________________________
       9   truth; that the testimony of said deponent was
                                                                    9 REASON____________________________________________
      10   correctly recorded in machine shorthand by me and
                                                                   10 PAGE_____ LINE_____ CHANGE________________________
      11   thereafter transcribed under my supervision with
                                                                   11 __________________________________________________
      12   computer-aided transcription; that the deposition
                                                                   12 REASON____________________________________________
      13   is a true and correct record of the testimony
                                                                   13 PAGE_____ LINE_____ CHANGE________________________
      14   given by the witness; and that I am neither of
                                                                   14 __________________________________________________
      15   counsel nor kin to any party in said action, nor
                                                                   15 REASON____________________________________________
      16   interested in the outcome thereof.
                                                                   16 PAGE_____ LINE_____ CHANGE________________________
      17
      18       WITNESS my hand and official seal this              17 __________________________________________________

      19   21st day of August, 2023.                               18 REASON____________________________________________
      20                                                           19 PAGE_____ LINE_____ CHANGE________________________
      21                                                           20 __________________________________________________
                     <%11516,Signature%>                           21 REASON____________________________________________
      22               Notary Public                               22
      23                                                           23 ________________________________ _______________
      24                                                           24 John Horning                  Date
      25                                                           25

                                                                                                        63 (Pages 246 - 249)
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